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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                 CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

            Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

            Defendants.
                                        /

      ORDER DENYING DEFENDANT TRUMP’S MOTION TO DISMISS SUPERSEDING
              INDICTMENT BASED ON PRESIDENTIAL RECORDS ACT

            THIS MATTER comes before the Court upon the Motion to Dismiss Superseding

  Indictment Based on the Presidential Records Act, filed by Defendant Trump (“Motion”)

  [ECF Nos. 327, 399].1 The Motion, brought pursuant to Rule 12(b)(3)(B)(v) for “failure to state

  an offense,” Fed. R. Crim. P. 12(b)(3)(B)(v), seeks dismissal of Counts 1 through 32 of the

  Superseding Indictment based on the Presidential Records Act [ECF No. 327]. Those counts

  charge Defendant Trump with willfully retaining and failing to deliver documents containing

  national defense information (without transmission, communication, or delivery) [ECF No. 85].

  18 U.S.C. § 793(e). The Motion also seeks derivative dismissal of the remaining counts against

  Defendant Trump, namely, the obstruction of justice and 18 U.S.C. § 1001 counts set forth in

  Counts 33 through 38 and 40 and 41. The Special Counsel opposes the Motion [ECF No. 373].

  The Court heard argument on the Motion on March 14, 2024 [ECF No. 404 (transcript)].




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       Defendants Nauta and De Oliveira join in the Motion [ECF Nos. 331, 403].
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          Fully advised in the premises, the Motion is DENIED [ECF No. 327]. Bound by the four

  corners of the Superseding Indictment, Counts 1 through 32 track the statutory language and

  essential elements of the charged portion of 18 U.S.C. § 793(e) [ECF No. 85 p. 32]. See 18 U.S.C.

  § 793(e) (making it illegal to “hav[e] unauthorized possession of . . . any document . . . relating to

  the national defense . . . and willfully retain[] the same and fail[] to deliver it to the officer or

  employee of the United States entitled to receive it”). Those same counts make no reference to

  the Presidential Records Act, nor do they rely on that statute for purposes of stating an offense.

  As for the remaining counts against Defendant Trump (Counts 33–38, 40–41), they too track the

  applicable statutory language and essential elements of the charged crimes [ECF No. 85];

  18 U.S.C. §§ 1001, 1512, 1519. More generally, the Superseding Indictment specifies the nature

  of the accusations against Defendant Trump in a lengthy speaking indictment with embedded

  excerpts from investigative interviews, photographs, and other content.              For these reasons,

  accepting the allegations of the Superseding Indictment as true, the Presidential Records Act does

  not provide a pre-trial basis to dismiss under Rule 12(b)(3)(B)(v)—either as to Counts 1 through

  32 or as to the remaining counts, all of which state cognizable offenses.

          Separately, to the extent the Special Counsel demands an anticipatory finalization of jury

  instructions prior to trial, prior to a charge conference, and prior to the presentation of trial defenses

  and evidence, the Court declines that demand as unprecedented and unjust [see ECF No. 428].

  The Court’s Order soliciting preliminary draft instructions on certain counts should not be

  misconstrued as declaring a final definition on any essential element or asserted defense in this

  case. Nor should it be interpreted as anything other than what it was: a genuine attempt, in the

  context of the upcoming trial, to better understand the parties’ competing positions and the

  questions to be submitted to the jury in this complex case of first impression [ECF No. 407]. As



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  always, any party remains free to avail itself of whatever appellate options it sees fit to invoke, as

  permitted by law.

         DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 4th day of April 2024.



                                                            _________________________________
                                                            AILEEN M. CANNON
                                                            UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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